Case 1:16-cr-00037-PLM           ECF No. 458, PageID.872            Filed 06/03/16      Page 1 of 2




                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:16-cr-00037
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
JOSEPH JEREMY JOHNSON,              )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

       Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

June 2, 2016, after receiving the written consent of defendant and all counsel. There is no plea

agreement. At the hearing, defendant Joseph Jeremy Johnson entered a plea of guilty to the single

charge of the Indictment charging defendant with conspiracy to defraud the United States through

the filling of false claims in violation of 18 U.S.C. § 286. On the basis of the record made at the

hearing, I find that defendant is fully capable and competent to enter an informed plea; that the plea

is made knowingly and with full understanding of each of the rights waived by defendant; that it is

made voluntarily and free from any force, threats, or promises; that the defendant understands the

nature of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       Accordingly, I recommend that defendant's plea of guilty to the single charge of the

Indictment be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.
Case 1:16-cr-00037-PLM          ECF No. 458, PageID.873           Filed 06/03/16     Page 2 of 2




Date: June 3, 2016                            /s/ Phillip J. Green
                                             PHILLIP J. GREEN
                                             United States Magistrate Judge




                                    NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




                                               -2-
